Case 1:16-cv-00232-CKK   Document 126-2   Filed 02/01/21   Page 1 of 12




                         EXHIBIT B
     Case 1:16-cv-00232-CKK     Document 126-2        Filed 02/01/21    Page 2 of 12




                                           RESUME

NAME:           L. Wayne Plumly, Jr.

TELEPHONE:      Office: (229) 245-3825


EDUCATION:      B.A. College of William and Mary, 1975 (Economics)
                M.A. Georgia State University, 1978 (Economics)
                Ph.D. Georgia State University, 1983 (Economics)

ACADEMIC
EXPERIENCE:     November 2010 – August, 2020 Dean, Langdale College of Business
                Valdosta State University

                July 2008– November 2010, Interim Dean, Langdale College of Business
                Valdosta State University

                July 2006 – June 2008, Head of Marketing/Economics,
                Valdosta State University

                July 2005 to July 2006, Acting Head of Marketing/Economics,
                Valdosta State University

                September 1995 to July 2005, Professor of Marketing/Economics,
                Valdosta State University

                September 1988 to August 1995, Associate Professor of
                Marketing/Economics, Valdosta State University

                January 1980 to August 1988, Assistant Professor of
                Marketing/Economics, Valdosta State University

                January 1976 to December 1980, Instructor of Economics and
                Teaching Assistant, Georgia State University
       Case 1:16-cv-00232-CKK           Document 126-2         Filed 02/01/21      Page 3 of 12




Resume
L. Wayne Plumly, Jr.
Page 2

TEACHING
AWARDS:                2008 SIFE (ENACTUS) Hall of Fame inducted by directors of Students In
                        Free Enterprise (SIFE) for notable contributions to the VSU SIFE
                        team and to SIFE International.

                       2005 Jack Kahl Entrepreneurship Leadership Award
                       Presented by directors of Students In Free Enterprise (SIFE)
                       to the outstanding faculty advisor of the year

                       2004 Kenneth G. Elzinga Distinguished Teacher Award
                       presented by the Southern Economic Association

                       2004 Excellence in Teaching Award presented by the president
                       of Valdosta State University and selected by faculty committee
                       (selected to be first annual recipient)

                       2003 Leavey Award for Excellence In Private Enterprise
                       Education presented by Freedoms Foundation at Valley Forge.

                       1998 Regents Teaching Excellence Award presented by
                       the Board of Regents in the University System of Georgia;
                       selected from nominees from 15 colleges and universities.

                       1994, 1998, 2001 Outstanding Teaching Award presented by Student
                       Advisory Council, College of Business Administration, Valdosta State
                       University (finalist 1996, 1997, 1999, 2000, 2002, 2003, 2004).

                       1993-1994 Outstanding Educator of the Year
                       presented by the Georgia Association of Economics
                       and Finance

                       1995 Best MBA Professor Award
                       presented by the 1993-1995 MBA Class, College of
                       Business Administration, Valdosta State University

                       1995 Pioneer Award
                       presented for being the first to teach in the Post Secondary Options
                       Program Using Distance Learning Technology

REFEREED
JOURNALS:              “Determinants of Students’ Relative Time Allocation Decisions,” Southern Business
                       & Economic Journal, Volume 37, Number 1, 2014, pp. 93-112
                       (Co-authored with Drs. Attila Cseh and Cliff Lipscomb)
       Case 1:16-cv-00232-CKK           Document 126-2       Filed 02/01/21     Page 4 of 12




Resume
L. Wayne Plumly, Jr.
Page 3

                       “Assessing the Technical Efficiency of Public High Schools in the State of Georgia”,
                       Review of Business Research, Vol. 11, Fall, 2011, pp.46 – 57 (Co-authored with Drs.
                       Zulal Denaux and Cliff Lipscomb)

                       “Developing Entrepreneurial Competencies: A Student Business”, Journal of
                       Entrepreneurship Education, Vol. 11, Summer, 2008, pp.17-28 (Co-authored
                       with Drs. L. Marshall, J. Eastman, R. Iyer, K. Stanley, and J. Boatwright)

                       “Characteristics Allowing Exportation of County Imposed Taxes”, International
                       Journal of Business and Economics Perspectives, Vol. 1, No. 1, Spring, 2006,
                       pp. 31-40 (Co-authored with Dr. Ralph C. Allen and Dr. Zulal Denaux).

                       “Bridging the Gap: A Business Start-Up Experience”, Journal for Advancement of
                       Marketing Education, Volume 6, Summer, 2005 (Co-authored with Dr. Rajesh
                        Iyer, Dr. Leisa Marshall, and Dr. Paul Fidal).

                       “An Attribute Approach to Buying “Green/Environmentally Safe” Products”,
                       Business Research Yearbook, Summer, 2005 (Co-authored with Dr. Rajesh
                       Iyer and Dr. Zulal Denaux).

                       “Teaching as Learning: Undergraduate Students Design Simulation
                       Activities on Free Enterprise for Elementary-Aged Children,” Journal
                       of Entrepreneurship Education, Volume 1, Number1, 1998 (Co-authored
                       with Dr. Glenda Akins and Don Parks).

                       "The Ethical and Economic Implications of Smoking in Enclosed Public
                       Facilities: A Resolution of Conflicting Rights," Journal of Business Ethics,
                       Volume 16, March, 1997 (Co-authored with Dr. Andy Ostapski and Dr. Jim Love).

                       "Effects of Nutrition Label Regulation on Consumer Choice: A Conceptual
                       Approach," Journal of Food Products Marketing, Volume 2, Number 4, 1995
                       (Co-authored with Dr. Jim Love and Dr. Ajit Kaicker).

                       "Smoking Regulation in Shared Facilities: An Ethical and Economic Analysis
                       of the Georgia Dome," Ethics and Critical Thinking Quarterly Journal,
                       Volume 34, March, 1995. (Co-authored with Dr. Andy Ostapski and
                       Dr. Jim Love).

                       "An Alternative Means of Student Assessment in Accounting Courses,"
                       Journal of Accounting and Computers, Volume IX, Summer, 1995.
                       (Co-authored with Dr. Howard Ray and Jim McKinney).
       Case 1:16-cv-00232-CKK       Document 126-2        Filed 02/01/21    Page 5 of 12




Resume
L. Wayne Plumly, Jr.
Page 4               "Exporting County Imposed Taxes," Southern Business and Economic Journal,
                      July, 1994, 17(4). (Co-authored with Dr. Jim Love).

                    "Comparison of Computerized and Traditional Testing on Business Students,"
                    Journal of Education for Business , March, 1990. (Co-authored with Dr.
                    Howard Ray).

                    "Computer Administered Testing in a Classroom setting: An Alternative,"Journal of
                    Research on Computing in Education, April, 1989. (Co-authored with Dr. Howard Ray).

                    "The Locus of Control Attribute and the Job Search Process,"
                    Psychological Reports, Volume 61, December, 1987. (Co-authored with
                    Dr. John E. Oliver, Jr.).

                    "Motivating Job Search among Discouraged Workers,"
                    International Social Science Review, Summer, 1984. (Co-authored with
                    Dr. John E. Oliver, Jr.).

PUBLISHED
CHAPTERS:           “Does Competition Influence Airline On-Time Performance?” Competition
                    Policy and Antitrust, Vol. 1, editor Darvin Lee, Elsevier, Summer 2005
                    (Co-authored with Dr. Nick Rupp and Dr. Doug Owens).

PUBLISHED
PROCEEDINGS:        “Developing Entrepreneurial Competencies: A Student Organization Business”,
                    Proceedings of the Allied Academies International Conference, Reno, Nevada, October
                    2006. (Co-authored with five others).

                    “Characteristics Allowing Exportation of County Imposed Taxes”, Proceedings of the
                    International Academy of Business and Public Administration Discipline Conference,
                    Orlando, Florida, January 2006. (Co-authored with Dr. Ralph C. Allen and Dr. Zulal
                    Denaux).

                    “Organizing The Assessment Effort: a Working Model,” American Society of
                    Business and Behavioral Sciences, Volume 11, February, 1998, pgs. 69-77.

OTHER
PUBLICATIONS:       "The Reagan Tax Plan: Equity, Growth, and Simplicity or Vintage Politics,"
                    Blazer Business Briefs, Summer, 1985.

                    "The Treasury Plan: An Analysis," Blazer Business Briefs,
                    Winter, 1985.

                    "A Lowndes County Consumer Price Index," Blazer Business Briefs,
                    Valdosta State College, Winter, 1982.
       Case 1:16-cv-00232-CKK           Document 126-2        Filed 02/01/21     Page 6 of 12




Resume
L. Wayne Plumly, Jr.
Page 5
                       "Supply-Side Economics: A Return to Classicism, Again,"
                        Blazer Business Briefs, Valdosta State College, Winter, 1981.

                       The Wall Street Journal Index for Macro-Economics Educational Service Bureau. Dow
                       Jones and Co., Inc, September, 1978. (Revised 1979 and 1980).

                       "The New Interest Rate Futures Markets," Chicago Board of Trade,
                       Annual Proceedings, December, 1976. (Co-authored with Dr. Louis
                       Ederington).

WORKING
PAPERS:                “Labor Choice Decisions by College Students: An Analysis of the Impact of the
                       Georgia HOPE Merit Aid Program” (Co-authored with Drs. Ralph Allen and Nick Rupp).


PAPER
PRESENTATIONS: “Determinants of Student’s Relative Time Allocation Decisions”, Academy of
               Economics and Finance, Houston, TX, February 2010. (Co-authored with Dr. Cliff
               Lipscomb)

                       "Determinants of Technical Efficiency: Public Schools in the State of Georgia",
                       Academy of Economics and Finance, Pensacola Beach, FL, 2009. (Co-authored with Drs.
                       Zulal Denaux and Cliff Lipscomb)
                       "Pathway to Success: Assessing Risks and Finding Markets", Georgia Chamber of
                       Commerce International Spring Summit, Valdosta, Georgia, April 2009.

                       “When a Home is more than a Home: Personal Finance Case Study”, Fostering
                       Indigenous Business and Entrepreneurship in the Americas (FIBEA) Conference in
                       Albuquerque, NM, November, 2007. (Co-authored with Dr. Emmanuel Morales-
                       Camargo, Daniel Housley, and Stephanie Spencer).

                       “Labor Choice Decisions by College Students: An Analysis of the Impact
                       of Merit Aid Programs Revisited”, Session 142K, Topics in Demographic
                       Economics, Southern Economic Association 76th Annual Conference in
                       Charleston, SC, November, 2006. (Co-authored with Drs. R. Allen and N. Rupp).

                       “Developing Entrepreneurial Competencies: A Student Organization Business”,
                       Allied Academies International Conference, Reno, Nevada, October 2006.
                       (Co-authored with five others).

                       “Characteristics Allowing Exportation of County Imposed Taxes”, International
                       Academy of Business and Public Administration Discipline Conference, Orlando,
                       Florida, January 2006, (Co-authored with Dr. Ralph C. Allen and Dr. Zulal Denaux).
       Case 1:16-cv-00232-CKK           Document 126-2        Filed 02/01/21    Page 7 of 12




Resume
L. Wayne Plumly, Jr.
Page 6
                       “Labor Choice Decisions by College Students: An Analysis of the Impact
                       of Merit Aid Programs”, Session 200P, Labor Supply, Southern Economic
                       Association 75th Annual Conference in Washington, DC, November, 2005.
                       (Co-authored with Drs. Ralph Allen, Rajesh Iyer, Jack Stone, and Nick Rupp).

                       “An Attribute Approach to Buying Green/Environmentally Safe Products,”
                       (with R. Iyer and Z. Denaux) International Academy of Business Disciplines,
                       Pittsburgh, PA, April 2005. Best Paper Award.

                       “Characteristics Allowing Exportation of County Imposed Taxes,” Southern
                       Economic Association Conference, November, 2004

                       “Does Competition Influence Airline On-Time Performance,” Southern Economic
                       Association Conference, November, 2001.

                       "An Economic Analysis of Wetland Use," Southeastern Wilderness Conference,
                        April, 1996.

                       "The Use of Cost/Benefit Analysis in Environmental Policy," Seventh North
                       American Interdisciplinary Wilderness Conference, February, 1996.

                       "Instructional Strategies for Distance Learning Course Delivery,"
                        Georgia Association of Economics and Finance, April, 1995.
                       "Productivity in Manufacturing: The Form of the Production Function," Eastern
                       Economic Convention, March, 1987.

                       "Incentive Effects of Social Security Disability Benefits on Labor Force
                        Participation of Prime-Age Males," Eastern Economic Convention, March, 1987.

                       "Sub-SMSA Forecasting Models," Eastern Economic Convention,
                        April, 1986.

                       "Racial Differences in the Locus of Control Attribute," Eastern Economic
                       Convention, April, 1986.
BOOK
REVIEWER:              Little, Brown and Company Publishers
                       Harper and Row Publishers
                       Dryden Press
                       Irwin
                       Harper Collins
                       Simon & Schuster
                       West Educational Publishing
                       McGraw Hill
                       Prentice Hall
       Case 1:16-cv-00232-CKK           Document 126-2        Filed 02/01/21    Page 8 of 12




Resume
L. Wayne Plumly, Jr.
Page 7

ADMINISTRATIVE
ACTIVITIES:    Diversity and Inclusion Taskforce, chair, VSU (2019 – present)

                       Summer Budget Model Taskforce, chair, VSU (2019 – present)

                       Presidential Speaker Series, chair, VSU (2019-present)

                       President’s Cabinet, VSU (2008 – 2011)

                       Dean’s Council, VSU (2008 – present)

                       Executive Committee, Langdale College of Business, VSU (2006 – present)

                       Real Estate Auxiliary Foundation Board, VSU (2008-present)

                       Leadership Committee, Langdale College of Business, VSU (2006 – present)

                       Tuition Remission and Reimbursement Committee, VSU (1998–2006)

                       Faculty Grievance Committee, VSU (1991-2008)

                       Departmental Post & Pre-tenure Review Committee, VSU (1998-2006)

                       Steele Scholarship Guidelines Committee, COBA, VSU (2003)

                       Chair, Academic Committee for Co-operative Education, VSU (2000-2002)

                       Chair, SACS Committee on Distance Learning, VSU (1998-2000)

                       Academic Honors and Scholarship Committee, VSU (1998-2000)

                       COBA MBA Quality Improvement Committee, COBA, VSU (1997-2000)

                       Instructional Improvement Quality Committee,
                       COBA, VSU (1994-96, 1999-2001)

                       Curriculum and Assessment Committee, COBA, VSU (1996-1998)

                       Chair, Committee on Tenure and Promotion Guidelines for COBA, VSU (1995-1996)

                       Coordinator, Charitable Contributions Program, VSU (1995)

                       Chair, Recycling Committee, VSU (1991)
       Case 1:16-cv-00232-CKK          Document 126-2      Filed 02/01/21     Page 9 of 12




Resume
L. Wayne Plumly, Jr.
Page 8
                       Committee on Assessment of General Education,
                       VSC (1990-1992)

                       Committee on Professional Education, VSC (1989-1991)

                       SACS Steering Committee, VSC (1988-1991)

                       Ad Hoc Committee on Faculty Senate, VSC (1988-1990)

                       Marketing/Economics Library Committee, VSU (1988-1994)

                       Marketing Department Head Search Committee, VSC (1989-1990)

                       Executive Graduate Committee, VSC (1988-1989)

                       Faculty Affairs Chairperson, VSC (1987-1988)

                       SAFT Scholarship Committee, VSC (1987-1991)

                       School of Business Admissions Committee, VSC (1984-1991)

                       Academic Council, VSC (1984-1986)

                       Executive Graduate Committee, VSC (1985-1986)

                       Academic Honors Committee, VSC (1984-1986)

                       Dean Search Committee, VSC (1983-1984)

                       Faculty Research and Development Funding Committee, VSC (1983-1985)

                       Computer Development Committee, VSC (1982-1984)

                       Executive MBA Development Committee, VSC (1983-1985)

                       Title III Implementation Committee, VSC (1982-1983)

                       Academic Council, VSC (1980-1982)

                       Committee on General Education Standards, VSC, (1980-1982)

PROFESSIONAL
DEVELOPMENT
ACTIVITIES:            AACSB New Dean’s Conference, June, 2008.
      Case 1:16-cv-00232-CKK           Document 126-2        Filed 02/01/21    Page 10 of 12




Resume
L. Wayne Plumly, Jr.
Page 9
                       AACSB Faculty Conference on Learning, June, 2006.

                       Completed Teaching Portfolio Workshop with Peter Seldin, January, 1994.

                       Selected and Participated in the "Southeast Master Teacher Program: Improving
                       Teaching Effectiveness," Georgia State University and Bell South, August 1989

                       Participated in "Innovative Teaching Techniques in Economics Conference,"
                       Estes Park, Colorado, 1988.

                       "Labor Economics Conference," Georgia State University, Atlanta, GA, 1986.


PROFESSIONAL
COMMUNITY
SERVICE:               Board of Directors Southeastern Credit Union (2018-present)

                       Business Incubator Board of Directors Lowndes/Valdosta Chamber of Commerce
                       (2018-present)

                       Economic Summit co-sponsored with Lowndes/Valdosta Chamber of Commerce
                       (2013-2020)

                       South Georgia Community Banking Symposium co-sponsored with the Georgia
                       Banking Association (2011-2020)

                       Students In Free Enterprise (SIFE) Faculty Advisor, now ENACTUS
                       VSU (1994-2020)

                       Targeted Business Expansion Committee (TBEC) of the Valdosta/Lowndes
                       Chamber of Commerce (2008-2010)

                       Supervisory Board for Southeastern Federal Credit Union (2006-2018)

                       Editor, Business Report, alumni newsletter of COBA, VSU (1991-2005)

                       Director, Lowndes County Cost of Living Index through
                       The South Georgia Institute (1991-2005)

                       Guest speaker at various organizations in the South
                       Georgia area.

                       1. Lowndes Association of Retired Citizens
      Case 1:16-cv-00232-CKK            Document 126-2         Filed 02/01/21   Page 11 of 12




Resume
L. Wayne Plumly, Jr.
Page 10
                       2. Lion's Club – Fitzgerald, Waycross

                       3. Valdosta Chamber of Commerce Seminars

                       4. Kiwanis Club - Valdosta

                       5. Professional Secretaries International - Valdosta

                       6. Lowndes Professional Woman's Association

                       7. Fitzgerald TV Station Talk Show

                       8. Valdosta Rotary Club

                       9. North Valdosta Rotary Club

                       10. Valdosta Home Builders Association

                       11. Kiwanis Club –Thomasville, GA

              Lecturer for Georgia Council of Economic Education
              (Economics for high school teachers at 11 South Georgia cities)

CIVIC
COMMUNITY
SERVICE
ACTIVITIES:            ENACTUS (SIFE) Faculty advisor supervising and coordinating service-
                       learning projects in the South Georgia region (1994-2020).

                       Coordinator, College of Business Administration, 2001
                       Faculty/Staff Capital Campaign.

                       Coordinator, 1995 Combined Giving Campaign at VSU
                       (Faculty/Staff Annual Fund Drive and State Charitable
                       Contributions Program including Local United Way)

                       Chairperson, Fund Drive for Mentally Retarded
                       Children, Tootsie Roll Drive (1983-1989)

                       Chairperson, Lowndes Association of Ministerial
                       Services to People (LAMP): 23 churches sponsored
                       program for emergency aid (food, medicine,
                       shelter) for people in need (1984-86)
      Case 1:16-cv-00232-CKK           Document 126-2       Filed 02/01/21   Page 12 of 12




Resume
L. Wayne Plumly, Jr.
Page 11

                       Board of Directors of Habitat for Humanity,
                       Valdosta, 1986

                       Board of Directors of Morningstar Center for
                       Unwed Mothers, 1989-90

                       St. John's School Board (1984-90):
                       Chairperson, 1985-86
                       Budget Director, 1987-90

                       President of St. John's Bowling League (1983-84)

                       Knights of Columbus:
                       Grand Knight, 1986-88
                       District Deputy, 1988-90
                       Budget Director, 1986-91
                       State Convention Chairperson, 1991
                       Runner-up Georgia Knight-of-the-Year, 1990
COURSES
TAUGHT AT
VSU:                   Distance Learning Post-Secondary Options ECO 1500

                       Survey of Economics, Honors Economics, Macro Principles, Micro Principles,
                       Managerial Economics, International Economics, Labor Economics, Public Finance
                       and Fiscal Policy, Environmental Economics, Directed Study in Economics,
                       MBA Managerial Economics

                       REFERENCES:

                       Jeremy S. McKenzie
                       Attorney-at-Law
                       Karsman, McKenzie & Hart
                       Savannah Georgia (912) 335-4977

                       Roy Copeland
                       Attorney-at-Law
                       Copeland Haugabrook & Walker
                       Valdosta, Georgia (229) 834-0829

                       W. Pope Langdale
                       Attorney-at-Law
                       Langdale Vallotton, LLP
                       Valdosta, Georgia (229) 244-5400
